     Case 6:22-cv-00583-ADA-DTG Document 10 Filed 08/15/22 Page 1 of 16




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION

Peter Pedersen,                       §
                                      §
              Plaintiff,              §
                                      §
       v.                             §       NO. 6:22-CV-00583-ADA-DTG
                                      §
Adobe Inc.,                           §
                                      §
              Defendant.              §
                                      §

                 DEFENDANT ADOBE INC.’S MOTION TO DISMISS
            PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(B)(6)
       Case 6:22-cv-00583-ADA-DTG Document 10 Filed 08/15/22 Page 2 of 16




                                            TABLE OF CONTENTS
                                                                                                                                   Page

I.      INTRODUCTION ...............................................................................................................1

II.     FACTUAL BACKGROUND ..............................................................................................1

        A.        The ʼ920 Patent ........................................................................................................1

        B.        The ʼ920 Patent Prosecution History .......................................................................3

        C.        The Accused Marketo Application ..........................................................................4

III.    LEGAL STANDARD ..........................................................................................................6

IV.     ARGUMENT .......................................................................................................................7

        A.        Pedersen Fails To Plausibly Allege Direct Infringement Of At Least The
                  Individual Message Generator Limitation ...............................................................8

V.      CONCLUSION ..................................................................................................................11




                                                                 -ii-
        Case 6:22-cv-00583-ADA-DTG Document 10 Filed 08/15/22 Page 3 of 16




                                                TABLE OF AUTHORITIES

                                                                                                                                   Page(s)

Cases

Ashcroft v. Iqbal,
   556 U.S. 662 (2009) ...............................................................................................................6, 7

Bot M8 LLC v. Sony Corp. of Am.,
   4 F.4th 1342 (Fed. Cir. 2021) ..............................................................................................7, 11

Chauhan v. Formosa Plastics Corp.,
   212 F.3d 595, 2000 WL 423367 (5th Cir. 2000) .......................................................................7

Grecia Est. Holdings LLC v. Meta Platforms, Inc.,
   No. 6:21-CV-00677-ADA, 2022 WL 2019296 (W.D. Tex. June 6, 2022) ...........7, 8, 9, 10, 11

Iron Oak Techs., LLC v. Acer Am. Corp.,
    No. 6:17-CV-00143-RP-JCM, 2017 WL 9477677 (W.D. Tex. Nov. 28, 2017) .......................7

Ruiz v. Brennan,
   851 F.3d 464 (5th Cir. 2017) .....................................................................................................7

Uniloc USA, Inc. v. ADP, LLC,
   772 F. App’x 890 (Fed. Cir. 2019) ............................................................................................9

Vervain, LLC v. Micron Tech., Inc.,
   No. 6:21-CV-00487-ADA, 2022 WL 23469 (W.D. Tex. Jan. 3, 2022) .......................... passim

Statutes

35 U.S.C. § 271(a) ...........................................................................................................................7

Other Authorities

Federal Rule of Civil Procedure 12(b)(6) ..........................................................................1, 6, 7, 11




                                                                    -iii-
      Case 6:22-cv-00583-ADA-DTG Document 10 Filed 08/15/22 Page 4 of 16




       Pursuant to Federal Rule of Civil Procedure 12(b)(6), Defendant Adobe, Inc. (“Adobe”)

moves to dismiss Plaintiff Peter Pedersen’s (“Plaintiff” or “Pedersen”) Complaint (Dkt. 1) alleging

direct infringement of U.S. Patent No. 6,965,920 (the “ʼ920 patent”).

I.     INTRODUCTION

       Since late November 2021, Pedersen has filed more than 16 lawsuits in this Court alleging

infringement of the ’920 patent against various companies. Adobe is one of those defendants in

Pedersen’s latest wave of cases. But the Complaint against Adobe contains material defects

warranting dismissal. Indeed, Pedersen’s infringement allegations are inconsistent with the

statements made to the Patent Office during prosecution and thus implausible on their face. In

particular, Pedersen advances infringement positions against Adobe that squarely contravene prior

representations he made to the examiner to overcome prior art with respect the limitations of claim

1. To be sure, that prior art system also operates in a similar manner to how Pedersen alleges

Adobe’s accused product operates in the Complaint. Pedersen should not be permitted to continue

litigating patent claims that he knows are based on infringement theories that he previously

disclaimed during prosecution as outside the scope of the patent. As such, the claims against Adobe

alleged in the Complaint are defective and should be dismissed pursuant to Federal Rule of Civil

Procedure 12(b)(6).

II.    FACTUAL BACKGROUND

           A. The ʼ920 Patent

       The ʼ920 patent, entitled “Profile Responsive Electronic Message Management System,”

issued on November 15, 2005 and purports to be directed to a centralized message management

system for distributing messages from messengers to recipients and a method of inputting data into

such a system. (Dkt. 1-1 at Ex. A.) Claim 1 of the ’920 patent, which is the only claim Pedersen




                                                -1-
      Case 6:22-cv-00583-ADA-DTG Document 10 Filed 08/15/22 Page 5 of 16




charted in the Complaint against Adobe (Dkt. 1, ¶ 17, 24; Dkt. 1-1, Exhibit B), recites “an

electronic management system” with the following components:


         1. An electronic message management system comprising:
         an electronic computer system in operative communication with a global digital
         communications network, and an electronic message management database in
         operative communication with the computer system; the electronic computer
         system having
         a recipient profile application for receiving recipient profile data from recipients
         via the global network and storing the recipient data in the database, the profile
         data including delivery parameters specified by a recipient of where, when and
         how specific types of messages from specific messengers are delivered to the
         recipient,
         a messenger profile application for receiving messenger profile data from
         messengers via the global network and storing the messenger data in the
         database, including messenger identifying data,
         a message input application for receiving message files from a messenger via
         the global network and storing the message files in the database, and
         an individual message generator in communication with the database and
         operative to access and utilize data and files from the database to generate an
         individual message to be sent to the recipient specified by the messenger via
         the global communications network according to the delivery parameters, and a
         message management server operating system [(“Individual Message Generator
         Limitation”)]; and
         the message management database including recipient and messenger profile
         databases for storing recipient and messenger profile data respectively, and a
         message database for storing message data files.

(Dkt. 1-1, Ex. A, cl. 1 (emphasis added)). As recited, claim 1 requires, inter alia, the receipt and

storage of recipient profile data from recipients and messenger profile data from messengers,

which will then be utilized by the individual message generator to generate a message to be sent

to a recipient specified by the messenger and based on compatible recipient and messenger data

stored in the database. (See also Dkt. 1-1, Ex. A, 3:48-52 (“The individual message generator of




                                                 -2-
        Case 6:22-cv-00583-ADA-DTG Document 10 Filed 08/15/22 Page 6 of 16




the message management system communicates with the databases to identify messages and

messenger parameters that are compatible with a recipient profile . . ..”).)

             B. The ʼ920 Patent Prosecution History

          During prosecution, the examiner rejected the Individual Message Generator Limitation

(highlighted above) as being disclosed in U.S. Patent No. 6,047,310 (“Kamakura”) (Ex. 1 A):

          an individual message generator (23, fig. 3) in communication with the database
          (sends an inquiry composed of retrieval expressions to the database; [Kamakura,]
          col. 12, lines 61-65) and operative to access and utilize data and files from the
          database to generate an individual message to be sent via the global
          communications network to a recipient specified by a messenger ([Kamakura,] col.
          7, lines 40-65; col. 12, lines 39-65).

(See Ex. B at 5-6 (Feb. 10, 2005 Office Action at pages 4-5) (emphasis added).) The Kamakura

system is directed to matching advertisement transmission attributes specified by receivers with

advertisement categories provided by the senders. (See, e.g., Ex. A, Abs.) As cited by the examiner

during prosecution against the Individual Message Generator Limitation of claim 1, the Kamakura

system includes a “distribution host computer 11 [that] determines distributees of the

advertisement information corresponding to the advertisement reception requirement 22 [of

receivers] and the advertisement transmission requirement 34 [of senders] and generates the

distribution list 25 [of receivers].” (Id., 7:40-46.) The sender “selects attribute information and

categories so as to narrow the selection of receivers (at step S54)” and then “the distribution list

generating portion 23 retrieves advertisement reception requirements 22 [of receivers] with

aggregate expressions composed of the item being selected and generates a distribution list 25

(shown in FIG. 15) including receiver IDs corresponding to the retrieval conditions (at step S55).”

(See id., 12:54-60.)




1
    “Ex.” refers to the Exhibits to the Declaration of Nicholas H. Lee, concurrently filed herewith.

                                                  -3-
      Case 6:22-cv-00583-ADA-DTG Document 10 Filed 08/15/22 Page 7 of 16




       To traverse this office action rejection, Pedersen confirmed his claimed “individual

message generator” is different than the Kamakura system because his system must generate an

individual message to be sent “to a recipient specified by a messenger,” and not to a recipient

generated by the message management system:

       Another limitation of instant claim 1 is an “individual message generator. . . to
       generate an individual message to be sent. . . to a recipient specified by a
       messenger.” Emphasis added. To the contrary, in a combination of Kamakura and
       Capps (even if successfully combined) the sender transmits its message to the
       apparatus; it is the apparatus that designates the receiver of the message.

(See Ex. B at 27 (May 27, 2005 Response at page 11) (second emphasis added).) In other words,

in Pedersen’s claimed system, the sender cannot send its message to the system for the system to

then designate the receiver of the message. Rather, the recipient of the generated message must be

specified directly by the messenger.

           C. The Accused Marketo Application

       Pedersen accuses Adobe’s Marketo software application of directly infringing the

electronic message management system of claim 1. (Dkt. 1-1, Ex. B.) Marketo is a marketing

automation application that enables users to streamline, automate, and measure marketing tasks

and workflows. (Ex. C at 2-4.) The application allows Marketo users to create customer Forms

that can be included in a user’s webpage; the application can also generate target lists of customers

based on filters applied to content collected through the Forms. (See, e.g., Ex. D; Ex. E.)

       With respect to the Individual Message Generator Limitation noted above, Pedersen alleges

that “Marketo can generate emails as individual messages that can be sent to a specific email

address associated with each particular recipient.” (Dkt. 1-1, Ex. B at 15.) The totality of

Pedersen’s contention for this limitation is as follows:

       Each messenger’s Marketo account is configured to communicate via the internet
       with Marketo servers, which perform the services associated with Marketo’s email
       marketing platform. See https://status.adobe.com/products/3755

                                                 -4-
      Case 6:22-cv-00583-ADA-DTG Document 10 Filed 08/15/22 Page 8 of 16




       Based on delivery parameters associated with a particular recipient/contact,
       Marketo can generate emails as individual messages that can be sent to a specific
       email address associated with each particular recipient. Recipients including their
       individual delivery parameters and email addresses are stored and organized in
       Marketo’s contacts database. See Figs. 6-10 above.

       Marketo provides a segmentation feature in which messengers are able to define
       conditions and select a target group of recipients/contacts for a campaign to receive
       a specific email message. These conditions can, for example, relate to individual
       delivery          parameters            of          recipients/contacts.          See
       https://experienceleague.adobe.com/docs/marketo/using/productdocs/
       personalization/segmentation-and-snippets/segmentation/create-asegmentation.
       html?lang=en

(Id. (emphasis added).) As shown, Pedersen is contending that the Marketo application itself

generates and specifies the target list of email recipients matching a set of conditions defined by

the Marketo user (i.e., the Marketer). Nowhere does Pedersen allege that those email addresses are

“specified by the messenger” as claimed.

       Pedersen also references screenshots of the “Email Editor” functionality in Marketo, which

he illustrates as Figures 9 and 10 of Exhibit B. (Dkt. 1-1, Ex. B at 13-14.) The Email Editor allows

the Marketer, as the alleged messenger, to specify the contents of a message to be sent to recipients.

These figures do not show that the Marketer is able to specify a particular recipient to which the

message should be sent.




                                                 -5-
       Case 6:22-cv-00583-ADA-DTG Document 10 Filed 08/15/22 Page 9 of 16




(See id. (showing the following fields that can be specified by the Marketer: “From Name”; “From

Address”; “Reply-to”; and “Subject”).)

III.    LEGAL STANDARD

        Dismissal under Federal Rule of Civil Procedure 12(b)(6) is warranted if the plaintiff has

failed to allege sufficient facts to “state a claim to relief that is plausible on its face.” Vervain, LLC

v. Micron Tech., Inc., No. 6:21-CV-00487-ADA, 2022 WL 23469, at *1 (W.D. Tex. Jan. 3, 2022)

(Albright, J.) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)). The plausibility standard

                                                   -6-
      Case 6:22-cv-00583-ADA-DTG Document 10 Filed 08/15/22 Page 10 of 16




requires that the complaint contain “‘factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged,’ based on ‘more than a sheer

possibility that a defendant has acted unlawfully.’” Id. (quoting Ashcroft, 556 U.S. at 678). Factors

considered in determining whether the complaint meets this standard include “the complexity of

the technology, the materiality of any given element to practicing the asserted claim(s), and the

nature of the allegedly infringing device.” Id. at *2 (quoting Bot M8 LLC v. Sony Corp. of Am., 4

F.4th 1342, 1353 (Fed. Cir. 2021)).

       A court considers the contents of the pleading and may also rely on matters of public record

when ruling on a motion to dismiss under Federal Rule of Civil Procedure 12(b)(6). Ruiz v.

Brennan, 851 F.3d 464, 468 (5th Cir. 2017); see also Chauhan v. Formosa Plastics Corp., 212

F.3d 595, 2000 WL 423367, at *1 (5th Cir. 2000) (holding that district court properly took judicial

notice of prior state court proceedings because they “were matters of public record, which may be

considered in resolving a motion to dismiss”) (citation omitted). While factual allegations are

construed in the light most favorable to the nonmoving party, “courts ‘are not bound to accept as

true a legal conclusion couched as a factual allegation.’” Grecia Est. Holdings LLC v. Meta

Platforms, Inc., No. 6:21-CV-00677-ADA, 2022 WL 2019296, at *2 (W.D. Tex. June 6, 2022)

(Albright, J.) (citation omitted); see also Vervain, 2022 WL 23469, at *2 (“Under any standard,

however, the complaint must support its entitlement to relief with ‘factual content,’ not just

conclusory allegations that the accused product(s) meet every claim limitation.” (citing Bot M8, 4

F.4th at 1353).

IV.    ARGUMENT

       A direct infringement claim under 35 U.S.C. § 271(a) “require[s] a showing that ‘each and

every limitation set forth in a claim appears in the accused product.’” Iron Oak Techs., LLC v. Acer

Am. Corp., No. 6:17-CV-00143-RP-JCM, 2017 WL 9477677, at *3 (W.D. Tex. Nov. 28, 2017)

                                                -7-
     Case 6:22-cv-00583-ADA-DTG Document 10 Filed 08/15/22 Page 11 of 16




(citation omitted). A claim of infringement is not plausible, however, if it contradicts statements

made to the Patent Office. See Grecia, 2022 WL 2019296, *6. Here, the Complaint alleges that

the Marketo application infringes claim 1 of the ’920 patent, but fails to state a plausible

infringement allegation because it directly contradicts Pedersen’s statements made during

prosecution with respect to “an individual message generator in communication with the database

and operative to access and utilize data and files from the database to generate an individual

message to be sent to the recipient specified by the messenger.” Given his communications with

the Patent Office during prosecution, Pedersen cannot pursue a theory of infringement that he

already disclaimed during prosecution.

           A. Pedersen Fails To Plausibly Allege Direct Infringement Of At Least The
              Individual Message Generator Limitation

       The plain language of claim 1 requires, inter alia, that the individual message generator

“generate an individual message to be sent to the recipient specified by the messenger.” (Dkt. 1-1,

Ex. A, cl.1.)

       During the prosecution of the ’920 patent, Pedersen emphasized that this limitation was

novel over the Kamakura prior art system. The examiner initially rejected the limitation because

Kamakura described an apparatus that includes a “distribution host computer 11 that determines

distribution of the advertisement information corresponding to the advertisement reception

requirement 22” by “generat[ing] a distribution list 25 (shown in FIG. 15) including receiver IDs

corresponding to the retrieval conditions (at step S55)” based on the sender’s “select[ion] [of] one

of the categories” that match “advertisement reception requirements 22 of receivers with a key of

the selected category.” (Ex. B at 5 (Feb. 10, 2005 Office Action at page 4) (explaining that the

Individual Message Generator Limitation was obvious over Kamakura at col. 7:40-65 and 12:39-

65); Ex. A, 7:40-65, 12:39-65.) To overcome that rejection, Pedersen explained that Kamakura


                                                -8-
     Case 6:22-cv-00583-ADA-DTG Document 10 Filed 08/15/22 Page 12 of 16




was distinguishable because it was “the apparatus [of Kamakura] that designates the receiver of

the message,” whereas claim 1 of the ’920 patent required the receiver of the message be “specified

by a messenger,” not the apparatus. 2 (See Ex. B at 27 (May 27, 2005 Response at page 11)

(emphasis added).) Stated differently, a messenger’s selection of reception categories for recipients

that the system then uses to generate a list of recipients—as in Kamakura—was wholly distinct

from the messenger specifying a recipient, as claimed in the ’920 patent.

       Yet in alleging infringement against Adobe’s Marketo application, Pedersen seeks to

recapture precisely what he disclaimed to obtain the ’920 patent—namely, contending that the

electronic message management apparatus can designate the receivers of the messages based on

criteria selected by a messenger. In his Complaint, Pedersen starts by alleging that the Marketo

application “can generate emails as individual messages that can be sent to a specific email

address.” (Dkt. 1-1, Ex. B at 15 (emphasis added).) Notably absent from this allegation, however,

is who is specifying that email address. Is it the messenger? Is it the system? Pedersen goes on to

confirm that it is the system: “Based on delivery parameters associated with a particular

recipient/contact, Marketo can generate emails as individual messages that can be sent to a

specific email address associated with each particular recipient. . . . Marketo provides a

segmentation feature in which messengers are able to define conditions and select a target group

of recipient/contacts for a campaign to receive a specific email message.” (Id. (emphasis added).)


2
  It is appropriate to take judicial notice of the intrinsic record (including the prosecution history)
of an asserted patent and consider it in a dismissal motion at the pleadings stage. See Uniloc
USA, Inc. v. ADP, LLC, 772 F. App'x 890, 898 n.3 (Fed. Cir. 2019) (“The prosecution history is
part of the intrinsic record of the patent” and “thus subject to judicial notice and may be
considered in our de novo review of the district court's” ruling on a motion to dismiss); Grecia,
2022 WL 2019296, at *6 (finding that communications with the Patent Office are a matter of
public record subject to judicial notice and “appropriate for this Court to consider at the pleading
stage.”); Vervain, 2022 WL 23469, at *5 (taking judicial notice of prosecution history of an
asserted patent in deciding motion to dismiss).

                                                  -9-
     Case 6:22-cv-00583-ADA-DTG Document 10 Filed 08/15/22 Page 13 of 16




More specifically, Pedersen is contending that the Marketo application itself generates the target

group of recipients for the individual message based on conditions selected by Marketo user (as

the messengers). Pedersen does not—because he cannot—allege that the Marketo user (i.e.,

messenger) directly specifies the recipient for a message, as recited in claim 1 and emphasized

during prosecution. To be sure, Pedersen’s reliance on “Email Editor” screenshots from the

Marketo application confirms that the application does not provide any option for the Marketo user

to even specify a particular recipient. (See Dkt. 1-1, Ex. B, Figs. 9-10 (showing “From,” “From

Address,” “Reply-to,” and “Subject” as the only user-input fields).) Dismissal is thus warranted

where, as here, Pedersen’s allegations against Adobe fail to articulate a plausible theory of

infringement that is consistent with the admitted scope of his invention. See Grecia, 2022 WL

2019296, at *6 (holding that a plaintiff-patentee “cannot plausibly allege infringement” where it

“contradict[s] prior sworn statements [made to the patent office] concerning the invention’s

scope”); Vervain, 2022 WL 23469, at *8-9 (dismissing complaint where the prosecution history

reflects how a limitation was “critical to the issuance” of the claims and allowed the claims “to

pass to allowance” but where the complaint only pointed to accused elements without offering

plausible allegations that the elements perform the relevant limitations).

       Furthermore, the alleged infringing manner in which Pedersen contends Marketo operates

is the same functionality as in the Kamakura prior art system that Pedersen disclaimed from his

invention. As mentioned above, Kamakura includes a distribution host system that generates a

distribution list of receivers (to receive advertising messages) corresponding to categories selected

by senders that match the “advertisement reception requirements 22 of receivers with a key of the

selected category.” (Ex. A, 12:39-65; see also Ex. B at 6 (Feb. 10, 2005 Office Action at page 5)

(citing to Kamakura, col. 12, lines 39-65 to reject the individual message generator limitation of



                                                -10-
     Case 6:22-cv-00583-ADA-DTG Document 10 Filed 08/15/22 Page 14 of 16




claim 1).) Similarly, Pedersen alleges that Marketo users “define conditions” that the application

will use to “select a target group of recipient/contacts for a campaign to receive a specific email

message.” (Dkt. 1-1, Ex. B at 15.) The defining of conditions by Marketo users for the system to

utilize in generating a target group of recipients that match those conditions (as Pedersen alleges

against Adobe) is no different than the Kamakura system, which uses the selection of categories

by senders to generate a distribution list of matching receivers (as was at issue during prosecution

of the ’920 patent). And because Pedersen previously distinguished the Kamakura functionality as

outside the scope of claim 1, he cannot reclaim the same functionality in litigation to allege

infringement of the same claim against Adobe. See Grecia, 2022 WL 2019296, at *6 (dismissing

infringement allegations that contradict statements made to the patent office). Thus, Pedersen’s

infringement allegations in the Complaint fail to plausibly state a claim for direct infringement

against the Marketo application. See Bot M8, 4 F.4th at 1346 (“[A] patentee may subject its claims

to early dismissal by pleading facts that are inconsistent with the requirements of its claims.”);

Vervain, 2022 WL 23469, *5 (granting motion to dismiss because patent infringement allegations

did not show the accused product met a material claim limitation).

V.     CONCLUSION

       For the foregoing, Adobe respectfully requests that this Court grant its Motion to Dismiss

Pedersen’s claim pursuant to Federal Rule of Civil Procedure 12(b)(6).


 Dated: August 15, 2022                       Respectfully Submitted,

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                                               -11-
Case 6:22-cv-00583-ADA-DTG Document 10 Filed 08/15/22 Page 15 of 16




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                               -12-
     Case 6:22-cv-00583-ADA-DTG Document 10 Filed 08/15/22 Page 16 of 16




                               CERTIFICATE OF SERVICE

        I hereby certify that all counsel of record who are deemed to have consented electronic
service are being served with a copy of this document via the Court’s CM/ECF system, per Local
Rule CV-5.


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                                              -13-
